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                           UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

 In re:                                                       Chapter 7

 ALEXANDER E. JONES,
                                                              Case No. 22-33553 (CML)

                 Debtor.

                    TRUSTEE’S WITNESS AND EXHIBIT LIST
             FOR MONDAY, DECEMBER 9, 2024, HYBRID HEARING ON
  TRUSTEE’S EXPEDITED MOTION FOR ENTRY OF AN ORDER IN FURTHERANCE OF
              THE SALE OF ASSETS OF FREE SPEECH SYSTEMS, LLC
                          [Relates to Dkt. Nos. 859, 915]

          Christopher R. Murray in his capacity as Chapter 7 Trustee (the “Trustee”) for the

bankruptcy estate of Alexander E. Jones (“Alex Jones”) files this Witness and Exhibit List for the

hybrid hearing to be held on Monday, December 9, 2024, at 1:00 p.m. (prevailing Central Time)

before the Honorable Christopher Lopez at the United States Bankruptcy Court for the Southern

District of Texas, Courtroom 401, 515 Rusk Street, Houston, Texas 77002.

                                          EXHIBITS

                                                               M O        O   A D
                                                                                       Disposition
                                                               A F        B   D A
    No.                       Description                                              After Trial
                                                               R F        J   M T
              Free Speech Systems LLC Chapter 11
       1.     Bankruptcy Schedules [Case No. 22-60043,
              Dkt. No. 900]
              Order Dismissing Free Speech Systems LLC
       2.     Chapter 11 Bankruptcy Case [Case No. 22-
              60043, Dkt. No. 956]
              Order Converting Debtor’s Chapter 11 Case to
       3.     a Case Under Chapter 7 of the Bankruptcy Code
              [Dkt. No. 708]
              Alexander E. Jones Chapter 7 Bankruptcy
       4.     Schedules [Dkt. No. 749]
       5.     Jones Conversion SOFA [Dkt. No. 750]


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                                                                   M O   O   A D
                                                                                   Disposition
                                                                   A F   B   D A
    No.                         Description                                        After Trial
                                                                   R F   J   M T
              Trustee’s Application to Employ Tranzon and
       6.     Tranzon360 as Sale Broker, inclusive of all
              exhibits thereto [Dkt. No. 828]
              Order Authorizing Trustee’s Employment and
       7.     Retention of Tranzon and Tranzon360 as Sale
              Broker [Dkt. No. 844]
              Order Granting Trustee’s Motion for Entry of
       8.     an Order Authorizing the Winddown of Free
              Speech Systems, LLC [Dkt. No. 859]
              Notice of Auction for the Sale of Assets of Free
              Speech Systems, LLC Free and Clear of Any and
       9.     All Claims, Interests, and Encumbrances [Dkt.
              No. 862]
              Trustee’s Emergency Motion for Entry of an
              Order Authorizing (i) the Sale of Intellectual
              Property Assets in Connection with the
       10.    Winddown of Free Speech Systems, LLC and (ii)
              the Assumption and Assignment of Executory
              Contracts, inclusive of all exhibits thereto [Dkt.
              No. 882]
              Notice of Successful Bidder and Backup Bidder
              in the Auction for the Assets of Free Speech
       11.    Systems, LLC Free and Clear of Any and All
              Claims, Interests, and Incumbrances [Dkt. No.
              903]
              Trustee’s Expedited Motion for Entry of an
              Order in Furtherance of the Sale of Assets of
       12.    Free Speech Systems, LLC, exclusive of all
              exhibits thereto, [Dkt. No. 915]
       13.    Asset Purchase Agreement [Dkt. No. 915-1]
       14.    Sealed Bid Package [Dkt. No. 915-2]
              First United American Companies, LLC Initial
       15.    Bid [Dkt. No. 915-3]
              Global Tetrahedron and the Connecticut
       16.    Families Initial Bid [Dkt. No. 915-4]
              Global Tetrahedron and the Connecticut
       17.    Families Initial Bid Letter [Dkt. No. 915-5]
              First United American Companies, LLC Final
       18.    Bid [Dkt. No. 915-6]
              Global Tetrahedron and the Connecticut
       19.    Families Final Bid [Dkt. No. 915-7]
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                                                                M O       O     A D
                                                                                        Disposition
                                                                A F       B     D A
    No.                        Description                                              After Trial
                                                                R F       J     M T
              Order Supplementing Order Dismissing Case
       20.    [Case No. 22-60043, Dkt. 1021]
              October 11, 2024, Free Speech Systems Sealed
       21.    Bid Offering Memorandum
              October 31, 2024, Free Speech Systems Sale
       22.    Activity Report
       23.    November 8, 2024, Analysis of Sealed Bids
       24.    Gift Class Recovery Analysis
              November 11, 2024, Email from Jeff
       25.    Tanenbaum regarding Qualified Bidder
              November 11, 2024, Email from Jeff
              Tanenbaum regarding Notice regarding FSS
       26.    Overbid Process, including all attachments
              thereto
              November 12, 2024, Email from Jeff
              Tanenbaum regarding Notice regarding FSS
       27.    Overbid Process, including all attachments
              thereto
       28.    Analysis of Free Speech System’s Final Bids
              Any pleading or other document filed with the
       29.    Court on the docket of the above-captioned
              chapter 7 case or related adversary proceeding
              Any exhibit necessary to rebut the evidence or
       30.    testimony of any witness offered or designated
              by any other party
       31.    Any exhibit listed by any other party

                                          WITNESSES
       1.       Christopher R. Murray, Trustee for the Alex Jones bankruptcy estate.
       2.       Jeff Tanebaum, President of ThreeSixty Asset Advisors
       3.       Any witness and rebuttal witnesses listed by any other party.
       The Trustee reserves the right to amend and/or supplement this Witness and Exhibit List

as necessary in advance of the Hearing. The Trustee also reserves the right to use any exhibits

presented by any other party and to ask the Court to take judicial notice of any document. Finally,

the Trustee reserves the right to introduce any previously admitted exhibit.

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Dated: December 5, 2024.

                                                 Respectfully submitted,
                                                 PORTER HEDGES LLP

                                                 By: /s/ Joshua W. Wolfshohl
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                                                 and

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                                                 COUNSEL TO
                                                 CHRISTOPHER R. MURRAY,
                                                 CHAPTER 7 TRUSTEE




                                CERTIFICATE OF SERVICE
        I certify that on December 5, 2024, I caused a copy of the foregoing document to be served
by the Electronic Case Filing System in the United States Bankruptcy Court for the Southern
District of Texas.


                                                    /s/ Joshua W. Wolfshohl
                                                       Joshua W. Wolfshohl

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